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              9      Attorneys for Plaintiffs
                     WHATSAPP INC. and FACEBOOK, INC.
            10
            11                                      UNITED STATES DISTRICT COURT

            12                                  NORTHERN DISTRICT OF CALIFORNIA

            13
            14       WHATSAPP INC., a Delaware corporation,         Case No. 3:19-cv-07123-JSC
                     and FACEBOOK, INC., a Delaware
            15       corporation,                                   DECLARATION OF JOSEPH D. MORNIN IN
                                                                    SUPPORT OF PLAINTIFFS’ SEPARATE
            16                                                      CASE MANAGEMENT STATEMENT
                                      Plaintiffs,
            17                                                      Date:        February 13, 2020
                            v.                                      Time:        1:30 p.m.
            18                                                      Courtroom:   E, 15th Floor
                     NSO GROUP TECHNOLOGIES LIMITED                 Judge:       Hon. Jacqueline S. Corley
            19       and Q CYBER TECHNOLOGIES LIMITED,

            20                        Defendants.

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              1              I, Joseph D. Mornin, declare:

              2              1.        I am an attorney with the law firm of Cooley LLP and counsel for Plaintiffs

              3      WhatsApp Inc. and Facebook, Inc. in this matter. The information in this declaration is based on my

              4      personal knowledge of this matter and information I obtained following a reasonable investigation of

              5      the events described below. If called as a witness, I could competently testify to the truth of each

              6      statement.

              7              Plaintiffs’ attempts to notify Defendants of this litigation and request waiver of service:

              8              2.        Plaintiffs have made substantial efforts to notify Defendants of this lawsuit and

              9      request a waiver of service of the summons. These efforts included sending the following materials

            10       (“Service Materials”) to each Defendant and their board members:

            11              A cover letter that requested contact information for Defendants’ counsel; requested a waiver

            12               of service of the summons within 60 days; and informed Defendants of their duty to preserve

            13               all documents that may be relevant to this litigation. A true and correct copy of the cover

            14               letter sent to NSO Group’s CEO and NSO Group board member, Shalev Hulio, is attached as

            15               Exhibit 1. Each of the cover letters sent to Defendants and their board members were

            16               substantially identical.

            17              The Complaint, Complaint exhibits, and civil cover sheet filed in this case (ECF Nos. 1, 1-1,

            18               & 1-2).

            19              U.S. District Court Forms AO 398 (“Notice of a Lawsuit and Request to Waive Service of a

            20               Summons”) and AO 399 (“Waiver of the Service of Summons”). True and correct copies of

            21               those materials are attached as Exhibit 2.

            22              The standing order for all judges of the Northern District of California; the civil standing

            23               order for Magistrate Judge Jacqueline Scott Corley; the Northern District of California’s

            24               general standing order for civil cases entitled “Contents of Joint Case Management

            25               Statement”; and the Court’s order setting ADR deadlines and the initial case management

            26               conference (ECF No. 9).

            27               3.        In paragraphs 4 to 13 below, I describe each communication I made to each

            28       individual.
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              1              4.     On November 4, 2019, I sent the Service Materials by email to Shalev Hulio, NSO

              2      Group’s CEO and board member, at shalevidc@gmail.com, shalev@nsogroup.com,

              3      media@nsogroup.com, and info@nsogroup.com. True and correct copies of those emails are

              4      attached as Exhibit 3.

              5              5.     On November 4, 2019, I emailed the Service Materials to Eran Gorev, who is

              6      identified as Q Cyber’s CEO in the company’s Israeli corporate filings. However, on November 12, I

              7      received a response from Gorev, in which Gorev stated that he no longer serves in that role. True and

              8      correct copies of those emails are attached as Exhibit 4.

              9              6.      On November 4, 2019, I sent the Service Materials by DHL Express to Defendants’

            10       shared office in Israel. The Service Materials were delivered to the shared office and signed for at

            11       reception on November 10. True and correct copies of the delivery receipts are attached as

            12       Exhibit 5.

            13               7.     On November 8, 2019, I sent the Service Materials to each of NSO Group’s board

            14       members by email at the following email addresses:

            15              Mickael Betito: mickael.betito@gmail.com.

            16              Stefan Kowski: kowski@novalpina.pe.

            17              Omri Lavie: omrilavie@hotmail.com, omri@foundersgroup.com,

            18               clockwize2003@gmail.com, omri@nsogroup.com.

            19              Stephen Peel: speel@smpeel.com.

            20              Gunter Schmid: guenter.schmid@kscf.de.

            21              Gerhard Schmidt: prof.gerhard_schmidt@web.de, gerhard.schmidt@weil.com. I received an

            22               automatic reply indicating that the email to prof.gerhard_schmidt@web.de was

            23               undeliverable. I received no other automatic replies, which suggests that the other email

            24               addresses (including the alternative email address for Schmidt) were valid and the Service

            25               Materials were received by the email recipient.

            26       A true and correct copy of the email sent to Omri Lavie is attached as Exhibit 6. Each of the other

            27       emails sent to the NSO Group’s board members was substantially identical.

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              1             8.       On November 9, 2019, I sent the Service Materials by FedEx to the office of each

              2      NSO Group board member. Those materials were delivered and signed for between November 11

              3      and 13. True and correct copies of the delivery receipts are attached as Exhibit 7.

              4             9.       On November 13, 2019, my agent hand-delivered the Service Materials to both

              5      Defendants at their shared office in Israel. Shir Kovner, who serves as the “legal advisor” for both

              6      Defendants, personally signed the receipt for the hand-delivered Service Materials. True and correct

              7      copies of the messenger’s affidavit and the receipt with Kovner’s signature are attached as

              8      Exhibit 8.

              9             10.      On November 15, 2019, my agent hand-delivered the Service Materials to Omri

            10       Lavie, NSO Group’s co-founder and a current board member, by delivering the Service Materials to

            11       his wife at their residence in New Jersey. A true and correct copy of the proof of service is attached

            12       as Exhibit 9.

            13              11.      On November 21, 2019, I sent the Service Materials addressed to Nachum Falek, Q

            14       Cyber and NSO Group’s CFO, by DHL Express to Defendants’ shared office in Israel. The Service

            15       Materials were delivered to the office and signed for at reception on November 24. A true and

            16       correct copy of the delivery receipt is attached as Exhibit 10.

            17              12.      On November 22, 2019, I attempted to send the Service Materials by email to

            18       Nachum Falek, Q Cyber and NSO Group’s CFO, by email at nfalek@allot.com and

            19       nachum@nsogroup.com. True and correct copies of those emails are attached as Exhibit 11. I

            20       received automatic replies indicating that both emails were undeliverable.

            21              13.      On November 24, 25, and 27, 2019, my agent attempted to hand-deliver the Service

            22       Materials to Nachum Falek at Defendants’ shared office and Falek’s home in Israel. When those

            23       attempts did not succeed, my agent sent the Service Materials by registered mail in Israel to

            24       Defendants’ shared office and left the envelope containing the Service Materials in Falek’s mailbox

            25       at his residence. True and correct copies of the messenger’s affidavits and photographs showing the

            26       envelope in Falek’s residential mailbox are attached as Exhibit 12.

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              1              14.    As of the date of this filing, Defendants have not responded to any of the

              2      communications described above, nor have they responded to the Complaint or appeared in this

              3      litigation.

              4              15.    On February 3, 2020, Plaintiffs’ counsel was contacted for the first time by Joseph

              5      Akrotirianakis, an attorney at King & Spalding LLP, who stated that his firm represents Defendants

              6      NSO Group and Q Cyber. On February 4, Plaintiffs’ counsel Kyle Wong and I participated in a brief

              7      phone conversation with defense counsel Joseph Akrotirianakis and Aaron Craig from King &

              8      Spalding LLP. During that conversation, Mr. Akrotirianakis stated that he was not currently willing

              9      to enter an appearance as an attorney of record in this case. Mr. Wong stated that we were concerned

            10       about discussing the litigation with counsel who are not attorneys of record. I later confirmed by

            11       email that we would only discuss the litigation with an attorney of record. As of this filing, I have

            12       not received a reply.

            13               Service via the Hague Convention:

            14               16.    On November 8, 2019, I engaged Aaron Lukken of Viking Advocates, LLC to

            15       accomplish service on Defendants under the Hague Convention.

            16               17.    On December 31, 2019, Lukken reported that his agent had successfully served both

            17       Defendants at their shared office on December 17, 2019. A true and correct copy of Lukken’s report

            18       is attached as Exhibit 13. A true and correct copy of the certificate of delivery provided by the agent

            19       is attached as Exhibit 14.

            20               18.    Plaintiffs have not yet received the formal certificate of Hague service from the

            21       Central Authority in Israel.

            22               Defendants’ public acknowledgment of this litigation:

            23               19.    Attached as Exhibit 15 is a true and correct copy of a press release published online

            24       by Defendant NSO Group Technologies Ltd. on October 29, 2019, available at

            25       https://www.prnewswire.com/news-releases/nso-group-statement-on-facebook-lawsuit-

            26       300947701.html and archived at

            27       https://web.archive.org/web/20191209233631/https://www.prnewswire.com/news-releases/nso-

            28       group-statement-on-facebook-lawsuit-300947701.html.
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              1             20.     Attached as Exhibit 16 is a true and correct copy of a public filing under the Foreign

              2      Agents Registration Act by Mercury Public Affairs, LLC, dated January 6, 2020. This filing includes

              3      a “Consulting Services Agreement” executed by Q Cyber and Mercury Public Affairs.

              4             Recent reports regarding the use of Defendants’ “Pegasus” spyware:

              5             21.     Attached as Exhibit 17 is a true and correct copy of an article titled “Someone Tried

              6      to Hack My Phone. Technology Researchers Accused Saudi Arabia.,” published online by the New

              7      York Times on January 28, 2020, available at https://www.nytimes.com/2020/01/28/reader-

              8      center/phone-hacking-saudi-arabia.html and archived at

              9      http://web.archive.org/web/20200129025846/https://www.nytimes.com/2020/01/28/reader-

            10       center/phone-hacking-saudi-arabia.html.

            11              22.     Attached as Exhibit 18 is a true and correct copy of an article titled “Exclusive: FBI

            12       probes use of Israeli firm’s spyware in personal and government hacks - sources,” published online

            13       by Reuters on January 30, 2020, available at https://www.reuters.com/article/us-usa-cyber-nso-

            14       exclusive/exclusive-fbi-probes-use-of-israeli-firms-spyware-in-personal-and-government-hacks-

            15       sources-idUSKBN1ZT38B and archived at

            16       http://web.archive.org/web/20200131140149/https://www.reuters.com/article/us-usa-cyber-nso-

            17       exclusive/exclusive-fbi-probes-use-of-israeli-firms-spyware-in-personal-and-government-hacks-

            18       sources-idUSKBN1ZT38B.

            19              I declare under penalty of perjury under the laws of the United States that the foregoing is

            20       true and correct.

            21              Executed at San Francisco, California, on the 6th of February, 2020.

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            23                                                     /s/ Joseph D. Mornin
                                                                   Joseph D. Mornin
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